Case 4:16-cV-00164-A Document 22 Filed 07/28/16 Page 1 of 1 Page|D 203

fN THE UNITE:`,D STATES DISTRIC§` COURT
FOR THE NORTHERN DISTRICT OF TEXAS

Ft. Wortn DIVISION

(Narne All Plaintiffs and Det`endants)
CIVIL NUMBER 4116~CV-'164-A

ER!C PEDROZA
Complete the fe§iowing if judgment
was rendered in another District:
vs.
NOISE ATTEZ\|UATIGN CONSTRUCTION, Dlstl`lct:
LL.C Doeket Nnmber.

Date Entered:
ABSTRACT OF JUDGMENT

In the above entitled and numbered cause a judgment was entered in this Court, Or other United States

 

 

 

 

 

 

District Conrt as indicated above and registered herein, en the 8tn day Of duly , 2016 , in

favor of l:’laintiff. Eric Pedroza

&gai§S?i Defendant. NO§§§_Ailenm_ation Construe€ion. LLC

in the sum o§ $ $3.§0? ,OG with interest ar the rate of
{)_45 per cent per annum from the Bth day of Jufy , Zgj§m.

Costs have been taxed by the Cferl< of Ceurt in the sum of $

 

Cred§ts re§lected. by returns on execution in the sum ef $

 

The address cf the defendant Shown in this suit in Which Said judgment was rendered:
900 Tav|or ’Road, Weatherford, TX 76087 or nature of

citation and date and place eitation Served:
833 Soapberry Dive, Weather€erd, TX 76086

I certify that the above and foregoing is a true and correct abstract of judgment rendered er registered in this
Court.

-t:b
Witness my hand and seal of the Court this 234 day of JULV , 20_1_§5__.

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